Case 5:22-cv-00053-RWS-JBB            Document 491         Filed 01/08/24      Page 1 of 12 PageID #:
                                            16496



                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

  DEXON COMPUTER, INC.                              §
                                                    §
  v.                                                §         Case No. 5:22-cv-53-RWS-JBB
                                                    §
  CISCO SYSTEMS, INC. and CDW                       §
  CORPORATION                                       §


                                                ORDER


         The above-referenced cause of action was referred to the undersigned United States

  Magistrate Judge for pretrial purposes in accordance with 28 U.S.C. § 636. The following motion

  is pending before the Court:

         Defendants’ Rule 37 Motion Regarding Undisclosed Damages (Dkt. No. 328).

  The Court, having carefully considered the relevant briefing, is of the opinion Defendants’ motion

  should be DENIED.

                                          I. BACKGROUND

         On September 25, 2023, Cisco Systems, Inc. (“Cisco”) and CDW Corporation (“CDW”)

  (collectively, “Defendants”) filed their current Rule 37 motion, requesting the Court (1) prohibit

  Dexon Computer, Inc. (“Dexon”) from presenting evidence of an “undisclosed” damages theory

  (that Cisco’s conduct caused general reputational harm to Dexon both inside and outside the

  alleged relevant markets) and (2) strike those portions of Dexon’s expert reports. Dkt. No. 328 at

  1-2.

                                       II. APPLICABLE LAW

         Federal Rule 26(a) states that “a party must, without awaiting a discovery request, provide

  to the other parties . . . the name . . . of each individual likely to have discoverable information –



                                                    1
Case 5:22-cv-00053-RWS-JBB            Document 491        Filed 01/08/24      Page 2 of 12 PageID #:
                                            16497



  along with the subjects of that information – that the disclosing party may use to support its claims

  or defenses.” FED. R. CIV. P. 26(a)(1)(A)(i); see also FED. R. CIV. P. 26(e)(1)(A) (requiring

  supplementation). The Court’s Discovery Order further requires the parties to provide “a complete

  computation of any category of damages claimed by any party to the action, making available for

  inspection and copying as under Rule 34, the documents or other evidentiary material on which

  such computation is based, including materials bearing on the nature and extent of injuries

  suffered.” Dkt. No. 65, ¶ 3(b); see also id., ¶ 9 (requiring timely supplementation).

         An expert required to provide a written report must include a “complete statement of all

  opinions the witness will express and the basis and reasons for them.” Firtiva Corp. v. Funimation

  Glob. Grp., L.L.C., Civil Action No. 2:21-CV-00111-JRG-RSP, 2022 WL 1792818, at *1 (E.D.

  Tex. June 1, 2022) (quoting FED. R. CIV. P. 26(a)(2)(B)(i)). Parties must provide their expert

  disclosures “at the times and in the sequence that the court orders.” Id. (quoting FED. R. CIV. P.

  26(a)(2)(D)).

         Federal Rule 37 sets the consequences of untimely or insufficient disclosure by a party:

  “[T]he party is not allowed to use that information or witness to supply evidence on a motion, at a

  hearing, or at trial, unless the failure was substantially justified or is harmless.” CEATS, Inc. v.

  TicketNetwork, Inc., Civil Action No. 2:15-CV-01470-JRG-RSP, 2018 WL 453732, at *3 (E.D.

  Tex. Jan. 17, 2018) (quoting FED. R. CIV. P. 37(c)(1)). Rule 37 also “empowers the courts to impose

  sanctions for failures to obey discovery orders.” Estech Sys., Inc. v. Target Corp., No. 2:20-CV-

  00123-JRG-RSP, 2021 WL 5154220, at *3 (E.D. Tex. July 21, 2021) (quoting Smith & Fuller,

  P.A. v. Cooper Tire & Rubber Co., 685 F.3d 486, 488 (5th Cir. 2012)).

         Four factors guide the Court’s exercise of discretion in evaluating whether to exclude

  evidence under Rule 37. Id. (citing CQ, Inc. v. TXU Min. Co., L.P., 565 F.3d 268, 280 (5th Cir.




                                                   2
Case 5:22-cv-00053-RWS-JBB            Document 491         Filed 01/08/24      Page 3 of 12 PageID #:
                                            16498



  2009)). These factors are: “(1) [the untimely party’s] explanation for its failure to disclose the

  evidence, (2) the importance of the evidence, (3) the potential prejudice to [the objecting party] in

  allowing the evidence, and (4) the availability of a continuance.” Id.

                                          III. DISCUSSION

     A. Background

         On September 22, 2022, Dexon served Defendants with its initial disclosures pursuant to

  Rule 26(a)(1) and the Court’s Discovery Order. On March 17, 2023, Dexon updated its damages

  disclosures. See Dkt. No. 328-3, Dexon’s Second Amended Initial Disclosures. Dexon claimed the

  “productions of financial data by Cisco and CDW to date are relevant to the damages claimed by

  Dexon in this action, and a detailed computation of damages will be provided upon designation of

  experts in accordance with the Court’s Docket Control Order. In general, Dexon will be claiming

  damages in form of lost profits due to the anticompetitive conspiracy of Cisco and CDW, as well

  as the monopolistic actions of Cisco.” Id. at 9.

         Regarding “the volume of lost sales and profits associated with the various instances of

  customer coercion referenced in the Complaint,” Dexon claimed that Cisco had interfered with

  Dexon’s sales of routers, switches, and IP phones to five specific customers –Lubbock Emergency

  Communication District (“Lubbock 911”), Targa Resources (“Targa”), Fort Bend Independent

  School District (“FBISD”), Park Place, and West Penn Allegheny Health System (“West Penn”)

  – causing Dexon to lose sales. Id. at 9-10. Dexon estimated interference damages for three of the

  identified customers – claiming that it lost “at least hundreds of thousands of dollars” in sales from

  Targa, “more than $1.3 million in revenue and $312,000 in profit” from FBISD, and “at least $1.2

  million in sales” from West Penn – and stated that it could not yet provide damages estimates for




                                                     3
Case 5:22-cv-00053-RWS-JBB                 Document 491            Filed 01/08/24         Page 4 of 12 PageID #:
                                                 16499



  the other two (Park Place and Lubbock). 1 Id. Dexon’s disclosure stated these are “instances of

  anticompetitive conduct, of which Dexon happened to learn,” and “do not represent Dexon’s total

  damages from the alleged conduct in this case.” Id. at 10; see also id. at 9 (stating Dexon was

  “continu[ing] to investigate[]the volume of lost sales and profits associated with the various

  instances of customer coercion referenced in the Complaint”).

          Seeking more detail regarding Dexon’s claimed damages, on March 27, 2023, Cisco filed

  a motion requesting the Court order Dexon to supplement its initial and supplemental damages

  disclosures to provide a “detailed computation” of the lost profits it seeks in this case, including

  the amount of knowable lost profits, Dexon’s method for computing those claimed damages, and

  supporting evidentiary materials (if any). Dkt. No. 141.

          After conducting a hearing, the Court denied Cisco’s motion on June 1, 2023, finding

  Dexon’s initial and supplemental damages disclosures sufficient for the stage of the case, “subject

  to Dexon’s continued obligation under Rule 26 to supplement its responses.” Dkt. No. 231 at 4-5

  (“By providing the general categories of claimed damages, in addition to the disclosure that such

  computation will rely upon the consultation of experts, Dexon had provided sufficient information

  to allow Defendants to ‘independently analyze’ their damages claim at this time.”).

          In the Order, the Court noted Cisco’s concern that it would suffer prejudice if Dexon’s

  future expert report on damages included information that Cisco would not have known to explore

  during discovery. See id. at 4 (citing Dkt. No. 224 (Transcript) at 65:1-67:16). However, the Court

  noted it would “address any issue on that front, if it develops, at the appropriate time in the case.”

  Id.



  1
   According to Defendants, Dexon’s damages disclosure did not calculate lost profits other than for the FBISD sales.
  But its proffered expert derives a Dexon profit margin that, when applied to the disclosed lost revenues, yields net
  damages of approximately $1 million in lost profits.


                                                           4
Case 5:22-cv-00053-RWS-JBB            Document 491        Filed 01/08/24      Page 5 of 12 PageID #:
                                            16500



          On June 21, 2023 – the final day of fact discovery – Dexon served its Fourth Supplemental

  Initial Disclosures. Dexon did not change or supplement its damages disclosures. See Dkt. No.

  328-4. On July 29, 2023, in accordance with the Docket Control Order, Dexon served upon

  Defendants the expert report of Dexon’s damages expert, Robert S. Maness, Ph.D. (“Maness”).

  See Dkt. No. 328-5 (Maness Opening Report Excerpt) see also Dkt. No. 354-2. In quantifying lost

  profits due to monopolization (id., ¶¶ 128-35), Maness opines as follows:

          Cisco’s actions have not only directly cost Dexon business as discussed, but by
          spreading FUD about the products sold by Dexon, Defendants have harmed
          Dexon’s reputation in the marketplace and made it more difficult to maintain
          its existing customers and earn new business. Consequently, Dexon’s entire
          business has been harmed by alleged conduct. That is, Cisco’s and CDW’s
          actions have likely materially reduced Dexon’s sales of not only Cisco routers,
          Ethernet switches, and enterprise voice products, but all Cisco products it
          sells. As I discuss below, I calculate Dexon’s lost sales of routers, Ethernet
          switches, and enterprise voice products. Additionally, I also calculate the impact of
          lost sales of products in the relevant market on sales and profits outside of the
          relevant product markets. I refer to these as “consequential sales.”

  Id., ¶ 129 (emphasis added). Maness further opines as to (1) the harm to Dexon due to Cisco’s

  alleged monopolization, arriving at Dexon’s lost profits of $16.3 million (id., ¶ 133); (2)

  “consequential lost sales” of other Cisco products outside of the relevant markets, arriving at

  Dexon’s lost profits from these “consequential sales” of $7.8 million (id., ¶ 134); and (3) lost

  profits on lost SMARTnet sales, arriving at $1.1 million in lost profits for lost SMARTnet sales

  (id., ¶ 135).

          On September 9, 2023, Maness submitted a reply report confirming that Dexon’s

  “monopolization damages model is not a customer-by-customer summation of lost sales.” See Dkt.

  No. 328-6 (Maness Reply Report Excerpt), ¶ 132 (“However, as Dr. Ugone is aware, my

  monopolization damages model is not a customer-by-customer summation of lost sales, nor is a

  damages model required to be a customer-by-customer summation. As I noted in my Opening




                                                   5
Case 5:22-cv-00053-RWS-JBB           Document 491        Filed 01/08/24      Page 6 of 12 PageID #:
                                           16501



  Report, I use a standard before and after approach based on the share of Dexon’s sales comprised

  of non-Cisco relevant equipment before and after the alleged conduct.”). On September 13, 2023,

  counsel for Cisco questioned Maness as follows:

         Q. Okay. Now if the jury were to determine that Cisco’s conduct directed towards
         FBISD was not wrongful and did not cause Dexon to lose sales, would that
         invalidate your calculation?
                                                ***
         A. It would not invalidate my calculation.

         Q. And that’s because the calculation that you do is not a customer-by-customer
         summation of lost sales. That’s what you say in paragraph 132, right?

         A. Correct.

  Dkt. No. 328-7 (Maness Deposition Excerpt) at 214:17-215:15.

     B. Parties’ assertions

         Defendants assert Dexon’s actual damages theories do not use, discuss, or rely upon the

  data that Dexon demanded Cisco produce at substantial burden and cost to Cisco (millions of pages

  of documents and more than 200 million lines of data production), and that Dexon alluded to in its

  damages disclosure (a customer-by-customer summation of lost profits from Cisco’s purported

  interference with Dexon’s sales of switches, routers, and IP phones to five specific customers).

  Dkt. No. 328 at 6, 8. In other words, Defendants claim Maness did not calculate monopolization

  damages based on any information that Dexon had previously disclosed (e.g., Maness did not

  calculate Dexon’s lost revenue or profits purportedly caused by Cisco’s alleged interference with

  specific customers; he did not opine on how much Dexon had lost from the five specific customers

  that Dexon had identified in its damages disclosures; and he did not tabulate lost profits from any

  customer). Defendants contend Maness advances “two entirely new theories for calculating

  Dexon’s monopoly damages:” (1) that Cisco has “harmed Dexon’s reputation in the marketplace

  and made it more difficult to maintain its existing customers and earn new business,” Maness



                                                  6
Case 5:22-cv-00053-RWS-JBB                   Document 491            Filed 01/08/24         Page 7 of 12 PageID #:
                                                   16502



  Opening Report, ¶ 129; 2 and (2) that this reputational harm also undermined Dexon’s ability to

  sell Cisco products outside the alleged relevant markets of switches, routers, and IP phones. 3 Id.,

  ¶ 134.

           Defendants contend Dexon’s failure to disclose was highly prejudicial. Dkt. No. 328 at 10-

  12. According to Defendants, Maness calculates that Dexon’s damages from this reputational harm

  inside and outside the alleged relevant markets amount to approximately $23.5 million – “a more

  than 2,000% increase beyond the damages figures that Dexon had disclosed in its damages

  disclosure through the close of fact discovery.” Id. at 6 (citing Maness Opening Report, Ex. 8C).

           In response, Dexon challenges Defendants’ premise that Maness “presents a new damages

  theory that was not previously disclosed:”

           Defendants’ motion focuses on two words (“Dexon’s reputation”), which are
           mentioned twice in Dexon’s 139-paragraph economic expert report, in now
           claiming that Dexon’s economic expert prepared a damages model based on
           “general reputational harm.” A plain reading of Dexon’s economic expert report
           simply does not support Defendants’ interpretation. Dexon’s expert, Robert S.
           Maness, Ph.D., did not prepare a damages report based on reputational harm, as
           Defendants insist throughout their motion. On the contrary, Dr. Maness’ report
           reflects a commonly accepted “but-for” world damages model based on the
           “before-and-after” method that is focused on Defendants’ anticompetitive and
           monopolistic conduct. A passing reference to Dexon’s reputation does not change
           the substance of Dr. Maness’ analysis, which is consistent with Dexon’s disclosures
           and pleadings, as well as the Court’s prior orders on Defendants’ motion to dismiss,
           all of which expressly placed Defendants on notice of this exact theory of damages.

           Defendants also misunderstand Dr. Maness’ consideration of “consequential
           sales”—this is not a damages model that is independent of the Relevant Market
           Products that Dexon’s case focuses upon. Rather, Dr. Maness’ use of consequential
           sales is intended to capture the full extent of loss to Dexon as a result of Defendants’

  2
   Specifically, Maness opines that Cisco equipment formerly made up approximately 95.5% of Dexon’s sales to
  hundreds or thousands of customers, but it now makes up approximately 91.3% of Dexon’s sales. Maness Opening
  Report, ¶ 131. Dexon’s proffered damages expert claims that, absent the alleged conduct, the proportion of Cisco sales
  would have remained at 95.5% through increased sales of Cisco equipment and calculates the profits Cisco owes
  Dexon from those lost sales. Id.
  3
   Accordingly, Maness asserts that Dexon would have sold millions of dollars’ worth of additional Cisco-branded
  equipment other than switches, routers, and IP phones and calculates lost profits from those sales, too. Maness Opening
  Report, ¶ 134.


                                                            7
Case 5:22-cv-00053-RWS-JBB            Document 491         Filed 01/08/24     Page 8 of 12 PageID #:
                                            16503



         anticompetitive conduct. At the outset of this case, in compliance with the Court’s
         E-Discovery Order, Dexon provided Defendants with all financial data that was
         relevant to the case (Dkt. No. 66, ¶ 8(b)(ii)), and these data included all of Dexon’s
         sales because Defendants’ conduct had an impact on the company as a whole.
         Despite having these data for almost a year and Defendants’ own experts having a
         full opportunity to consider and respond to Dexon’s damages calculation,
         Defendants now claim surprise, when nothing about its damages are new or
         improper. Simply put, Dexon’s expert report is entirely consistent with the Court’s
         previous Decision and Order, which denied Cisco’s previous motion to compel
         damages disclosure and expressly recognized that Dexon’s damages disclosure
         would be dependent on expert consultation. Because Dexon’s expert report
         complies with its previous disclosures and the Court’s prior order, Defendants’
         motion fails.

  Dkt. No. 354 at 1-2. Assuming arguendo that Dexon’s expert report did not comport with its prior

  disclosures and pleadings, Dexon argues the factors for sanctions under Rule 37(c) weigh heavily

  against the extreme relief that Defendants seek. Id. at 2.

     C. Analysis

  1. Dexon did not violate its disclosure obligations

         Defendants argue Dexon violated its disclosure obligations by waiting until after the end

  of fact discovery to reveal a new damages theory of reputational harm inside and outside the

  relevant markets affecting Dexon’s “entire business.” Dkt. No. 328 at 8. Relying on caselaw,

  Defendants assert Dexon should be precluded from relying on damages evidence and theories not

  included in Rule 26 disclosures. Id. (citing, among other cases, Perez v. Tyczynski, No. 5:21-CV-

  00109, 2023 WL 2020980, at *4-6 (S.D. Tex. Feb. 15, 2023) (precluding plaintiff from relying on

  damages evidence and theories not included in Rule 26 disclosures); Jacked Up, L.L.C. v. Sara

  Lee Corp., No. 3:11-CV-3296-L, 2019 WL 1098992, at *9-11 (N.D. Tex. Mar. 8, 2019) (excluding

  new damages computation by plaintiff’s expert because it was “inconsistent with” the damages

  disclosure plaintiff produced during discovery period), aff’d, 807 Fed. Appx. 344 (5th Cir. 2020);




                                                    8
Case 5:22-cv-00053-RWS-JBB            Document 491         Filed 01/08/24      Page 9 of 12 PageID #:
                                            16504



  Am. Realty Tr., Inc. v. Matisse Partners, L.L.C., No. 3:00-CV-1801-G, 2002 WL 1489543, at *3-

  6 (N.D. Tex. July 10, 2002) (excluding undisclosed damages claim)).

         The cases cited by Defendants are distinguishable. For example, in Perez, the plaintiff

  objected to discovery regarding his income, earnings, and financial support, repeatedly stating the

  information was irrelevant because “Plaintiff does not present a claim for lost wages at this time.”

  Perez, 2023 WL 2020980, at *4; see also id. at *5 (“In each response, Plaintiff reiterated that

  Defendant’s request was not within the scope of discovery because the information was not

  relevant, as he did not ‘present a claim for lost wages at this time.’ . . . Perhaps Plaintiff did not

  believe he was presenting a claim for lost wages at that time. But as soon as he determined that he

  was making such a claim, he had the obligation to affirmatively correct his disclosures to

  Defendant.”). After applying the four factors, the court held pursuant to Rule 37 that the plaintiff

  would not be permitted to pursue a claim for lost wages at trial. Id. at *4-5.

         Here, contrary to Defendants’ assertions otherwise, Dexon has not affirmatively misled

  Cisco (or the Court) as to its damages theories by disclaiming the theories on which it relies. In its

  response to Cisco’s March 27, 2023 motion to compel, Dexon stated it had detailed the extent of

  its lost profits damages based on information presently available and further stated Dexon’s

  calculation of damages in this “multifaceted and complex antitrust” case would be “based upon

  expert opinion, which [would] be disclosed pursuant to the Court’s Docket Control Order in July

  2023.” Dkt. No. 155 at 1-2. None of Dexon’s statements in the motion practice before the Court

  contains the type of about face presented in Perez.

         Unlike in Jacked Up, Maness’s damages computation is not inconsistent with Dexon’s

  Rule 26 disclosures. See Jacked Up, 2019 WL 1098992, at *9 (“The supplemental disclosures also

  provide different numbers on the key components of Schmitz's new computation: different year 1




                                                    9
Case 5:22-cv-00053-RWS-JBB            Document 491 Filed 01/08/24             Page 10 of 12 PageID
                                           #: 16505



 locations; different growth rates; different distribution channels; and no mention of any of Jacked

 Up’s purported existing distribution network. They also provide a different damage number.”).

        Defendants’ reliance on American Realty, 2002 WL 1489543, is of no avail either. In that

 case, the court excluded the plaintiff’s $30 million damage figure (which was disclosed for the

 first time nearly two weeks after the discovery deadline and for which the plaintiffs had not since

 complied with their discovery obligation to disclose the facts underlying the damages claim)

 because “the plaintiffs made a tactical decision to ambush the defendants by withholding their

 main claim for damages until after the close of discovery.” Id. at *5. There was no comparable

 tactical decision to ambush Defendants here. Dexon’s disclosures advised Defendants that its

 damages calculation would require the consultation of an expert and was based on financial

 information provided in discovery.

        In hindsight, Dexon’s amended disclosures could have been clearer, because they do

 suggest a customer by customer model. But Defendants have not persuasively shown that Dr.

 Maness’s reference to Dexon’s reputation converts his lost-profits damages model to a damages

 model based on reputation or that Dr. Maness’s consideration of “consequential sales” reflects a

 new theory. Therefore, the Court does not find any disclosure violation in this case.

 2. Assuming a disclosure violation, the Rule 37(c) factors would not weigh in favor of
    exclusion

        Even assuming that there was a disclosure violation, the Rule 37(c) factors do not weigh

 in favor of exclusion. As noted above, in determining whether a “violation of Rule 26 requiring

 disclosure . . . is harmless, such that the evidence may be used at trial despite non-disclosure, the

 trial court’s discretion is to be guided by the consideration of four factors: (1) the importance of

 the evidence or witness’ testimony; (2) the prejudice to the opposing party of allowing the evidence

 in; (3) the possibility of curing such prejudice by granting a continuance; and (4) the explanation,



                                                  10
Case 5:22-cv-00053-RWS-JBB            Document 491 Filed 01/08/24              Page 11 of 12 PageID
                                           #: 16506



 if any, for the party’s failure to identify the witness or evidence.” ResMan, L.L.C. v. Karya Prop.

 Mgmt., L.L.C., No. 4:19-CV-00402, 2020 WL 5884820, at *2 (E.D. Tex. Oct. 1, 2020) (citation

 omitted) (noting the factors relate to witnesses and evidence—not pleadings, claims, or violations

 of Rule 26(a)(1)(A)(iii) (regarding damages disclosure) but finding the factors persuasive and

 applying a modified version in evaluating a motion to strike the plaintiff’s claim for lost profit

 damages).

         To the extent there was any failure to timely disclose, Dexon has sufficiently explained

 said failure. According to Dexon, in complex matters like this one, it is common for damages

 calculations to be disclosed through experts, which was always Dexon’s intent. Dexon further

 explains how what is reflected in Dr. Maness’s report is consistent with Dexon’s theory throughout

 this litigation.

         The evidence regarding Dexon’s claim for damages is undoubtedly significant. Dexon

 asserts Dr. Maness’s economic model is critical to Dexon establishing its damages. Dkt. No. 385

 at 4. The Court finds this factor weighs heavily in favor of considering any nondisclosure, to the

 extent there was nondisclosure, harmless.

         The factor measuring the amount of resulting prejudice to Defendants if the Court allows

 the disclosure to continue to trial also weighs in favor of considering any nondisclosure harmless.

 According to Dexon, Dr. Maness’s report does not focus on reputation harm in determining

 Dexon’s lost-profit damages and was principally based on evidence of Defendants’ alleged

 anticompetitive actions and Dexon’s financial data – material which Defendants have had in their

 possession and were able to address in either expert rebuttal or reply reports. There is no indication

 Defendants were not able to adequately address the specific theories in Dr. Maness’s reports.

         In short, there is no basis under Rule 37 for exclusion of Dexon’s damages theory.




                                                  11
Case 5:22-cv-00053-RWS-JBB             Document 491 Filed 01/08/24   Page 12 of 12 PageID
                                            #: 16507



                                        IV. CONCLUSION

       Based on the foregoing, it is

       ORDERED that Defendants’ Rule 37 Motion Regarding Undisclosed Damages (Dkt. No.

 328) is DENIED.


                   SIGNED this the 8th day of January, 2024.




                                                    ____________________________________
                                                    J. Boone Baxter
                                                    UNITED STATES MAGISTRATE JUDGE




                                               12
